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                            Ways to Avoid a
                            Failed Mediation
                             By William P. Carlucci

                                                             ore than 20 years ago, I agreed to join th e
                                                             panel of pro bono mediators of the U.S.
                                                             District Court for the Midd le Distri ct of Penn-
                                                             sylvan ia. I was honored to be invited. Wh ile I
                                                             already had nearly 20 years of legal experi-
I regularly                                                  ence, I had not yet served as a mediator. The

question whether                                             court provided me (a long with other mem-
                            bers of my "class" of vo lunteers) with two long days of training in Ca rli sle.
the parties and
                            Th ereafter, I eagerly awaited my chance to serve the bar by helpin g atto r-
their counsel take          neys to settle their cases fairly. Each year since, I have accepted severa l pro

the mediation               bono assignments. I have also, on occasion, attended mediation continu-
                            ing lega l education training. In addition, I have participated in plenty of
process or the
                            private mediations, either as the mediator or as counse l to a party. Now,
mediator seriously.         armed with much m ore experience, I am much less eager. Whil e I con-
                            tinue to serve, and whi le I still believe in the w isdom of a just settl eme nt,
                            I reg ula rly question whether the parties and their counsel t ake the med ia-
                            tio n process or the mediator serious ly.


                            With apo logies to David Letterman, here are my top 10 ways to avoid a
                            fa iled medi ation .



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                                                                               Control costs beginning on Day One. No client
                                                                              wants to hear a lawye r push for settlement after t he
                                                                              client has paid a fortune preparing fo r tria l. In any
                                                                              case where sett lement is clearly indicated, good
                                                                              lawyers begin to control costs on the day they take
                                                                              the ca se. They investigate material facts and conduct
                                                                              just enough discovery to understand the case fu lly.
                                                                              When they attend med iation, they explain to their
                                                                              client tha t much work remains undo ne and a fai r
                                                                              settleme nt w ill avoid furth er expense.

Know your case, not just your client's position.
Successfu l mediation is tough w here t he lawyers
do not rea lly know the facts and the parties merely
cling to their positions and dispute the claims of their
opponent. For that reason, I rarely recomme nd media-
tion prior to at least some discovery. In small cases,
ea rly med iati on may be indicated in order to avoid
discovery cos ts, but in larger cases, lawyers shou ld
conduct at least some discovery prior to med iation
so that they understand most of the controlli ng fa ct s.

                                                                              Mediation works best where the parties have genuine risk.
                                                                              Most litigants settle their case either to manage the risk of lit iga-
                                                                              tion costs o r to manage the ris k of an adverse outcome. Where
                                                                              litigants see little ri sk in the litigation, t hey may conclude that
                                                                              they have little to gain fro m settlement. In the 21st century,
                                                                              attorney's fees are ofte n eithe r contingent or capped by agree-
                                                                              men t. Where the li tigation presents signi fica nt expense or risk
                                                                              to the clie nt, a prud ent lawyer w ill encourage med iation as a
          1 2 3 4 5 6 7                                                       risk-manag ement tec hnique. In cases w here t he litigat ion risk
                                                                              to all parties is minor, proceed ing to t ri al may actua lly be more
                                                                              cost effective.

Timing is everything. Experienced lawyers know
that cases and clients go through "stages." Early in the
case, clients are often angry and feel victimized. On ly
late r, afte r tempers have coo led and the facts have
been fu lly explored, do th ose same client s begin to
understand that there are (at least) two sides to every
story. Once clients understand their risk, they may
begin to consider the wisdom of co mpro mise. Good
lawyers carefully li ste n to their clients at eve ry stage of
the litigati on. The ti me to encoura ge mediation (or
settlement, generally) is not whe n the judge or t he
lawyers decid e to move on to another case: It is when
the clie nts decide to move on w ith their lives.

                                                                               Clever trial lawyers ... take time to
                                                                               discover what their opponent needs.


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                                                                              Mediation is not a substitute for negotiation.
                                                                              I often d iscover that the first time the parties have any mean-
                                                                              ingfu l settlement discussion is the day of mediation. That is
                                                                              si lly. Wh ile no lawyer wants to make mu ltiple offers without
                                                                              any meaningfu l counter-proposa l (the dreaded "negotiating
                                                                              against yourself"), there is little strategic va lue in w ithholdi ng
                                                                              any settlement offer unti l the day of mediation. Even where
                                                                              the mediator's time is pro bono, mediation requires counse l
                                                                              fees and travel expense. If the exchange of a few letters or
                                                                              te lephone ca lls can settle the case, those expenses are avoided.
                                                                              Med iators often requ ire med iation memos, which inc lude
                                                                              previous settlement discussions. If the memos revea l that no
                                                                              prior discussions have occurred, the mediator may wonder
                                                                              whether the lawyers are serious about settlement.

   Expand the pie. Every tria l lawyer shou ld read
   Getting to Yes by Roger Fisher and Wil liam Ury, and
   Getting Past No by Ury. The authors explain that
   successfu l negotiation is not about what you want
   from your opponent, but what you can offer in return.
   Clever tria l lawye rs always know what their cl ient
   wants, but they also take time to discover what their
   opponent needs. They view med iation as an opportu-
   nity to offer rea l va lue to their opponent in exchange
   for fair settlement terms. Even a grumpy two-year-old
   can make demands.
                                                                              Mediation should never be a mere courtesy
                                                                              to the court. Unfortunately, mediation has become
                                                                              fashionab le. Many judges not on ly encourage media-
                                                                              t ion; they practical ly requ ire it. Lawyers may agree
                                                                              to mediat ion in an effort to "appear reasonab le;' even
                                                                              though they have no intention of encouraging their
                                                                              client to settle. In my view, the court should only
                                                                              encourage mediation where the lawyers are tru ly
                                                                              committed to the process. A proforma mediation
                                                                              is a waste of time and money and an insult to the
                                                                              mediator.
Decision-making requires the participation of
decision-makers. As a court-appointed mediator,
I often receive a request tc;i permit the "participation"
of parties or insurance adjusters by telephone. This is
nonsense and in clear vio lation of at least the M idd le
District loca l ru les. If the parties are ab le to settle their
case by telephone, mediation is unnecessary. The key
to successfu l mediation is the process of a mediator
meeting face to face with those who have the authority
to settle. Any party or adjuste r who elects not to attend
has effectively announced that he or she has little
interest in a just settlement.




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                                                                                           Mediation is not a discovery technique. I have co nclud ed
                                                                                           that some attorneys undertake mediation simply to learn
                                                                                           more about the case or to test the wi ll of the oppos ition. They
                                                                                           with hold any offer unti l the day of the mediation, then beg in
                                                                                           t he mediation w ith either a low ba ll offer or a demand that is
                                                                                           seve ra l orders of magnitude mo re than the fair va lue of the
                                                                                           case. When t he mediator points out that the attorney's position
                                                                                           wi ll not move t he matter toward settlement. the attorney
                                                                                           sometimes suggests a list of q uestions for the mediator to
                                                                                           put to op posing counsel, in order to "better understand the
                                                                                           case:· None of this behavior is intended to settle the case. It is
                                                                                           mere ly gamesmanship and a waste of time and money. The
                                                                                           Pennsylvania Ru les of Civil Proced ure provi de attorneys w ith
                                                                                           many effective discovery tools. Media tion is not among them.
                                     Lastly, every 11-year-old
Boy Scout is taught the va lue of careful preparation.
There are many more litigation ri sks than just losing at
trial. Experienced tria l lawyers ca reful ly prepa re a deci-
sion-tree based "litigation risk ana lys is;' weigh ing the
client's best-case scenario, as wel l as the wo rst. They
use their knowledge and expe ri ence to predict the likeli-
hood of each future eve nt that may have a material
effect upon t he case, and total t hose events to predict
t he outco me. On ly after they have completed that very
detai led ana lysis are they prepared to o ffer the client
a fu lly informed o pinion regarding the likelihood of
success. Only then are they prepared for mediatio n. OD




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                       in Williamsport. Ile1sapast president of thePBA.
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     of Civil Procedure provide
     attorneys with many
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     Mediation is not among them.

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